

Board of Windsor Owners Corp., Inc. v Platt (2020 NY Slip Op 06342)





Board of Windsor Owners Corp., Inc. v Platt


2020 NY Slip Op 06342


Decided on November 05, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 05, 2020

Before: Gische, J.P., Webber, González, Scarpulla, JJ.


Index No. 155985/14 Appeal No. 12274N Case No. 2020-01672 

[*1]Board of Windsor Owners Corp., Inc., Plaintiff-Appellant,
vElaine Platt, Defendant-Respondent.


Gallett Dreyer &amp; Berkey LLP, New York (Morrell I. Berkowitz of counsel), for appellant.
Elaine Platt, respondent pro se.



Order, Supreme Court, New York County (Jennifer G. Schecter, J.), entered October 29, 2019, which, insofar as appealed from, denied plaintiff's motion for sanctions, unanimously affirmed, without costs.
A determination on the imposition of sanctions is reviewable for clear abuse of discretion (see e.g. Braverman v Braverman, 146 AD3d 704 [1st Dept 2017]). Here, the court did not abuse its discretion in refusing to impose sanctions (see 22 NYCRR 130-1[c]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 5, 2020








